Case 1:25-cr-10003-PBS Documenti1-1 Filed 01/07/25 Page 1 of 2

&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency FBI

City Quincy, MA Related Case Information:

County Norfolk same Defendant — New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of
. Is this case related to an existing criminal action pursuant to Rule Yes No
Defendant Information: 40.1(h)? If yes, case number LJ

Defendant Name Thomas F. Clasby, Jr. Juvenile: [ ] Yes [V| No

24-MJ-8383 to 24-MJ-8386 PGL

Is this person an attorney and/or a member of any state/federal bar: [ ] Yes lV] No

Alias Name:

Address: 710 Mount Elam Road, Fitchburg, MA 01420

Birth date (Yr only): 1964 — sgn (last 4#): 3306 sex: Ms Race W Nationality, USA
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information

Ausa; Kristina E. Barclay Bar Number if applicable: 640848

Interpreter: [| Yes lv] No List language and/or dialect:

Victims: lV] Yes [] No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes lv] No
Matter to be SEALED: lv] Yes LC] No

Warrant Requested [| Regular Process [| In Custody

Location Status:

Arrest Date:
[| Already in Federal Custody as of in .
[] Already in State Custody at [| Serving Sentence [] Awaiting Trial
[| On Pretrial Release: Ordered by: on
Charging Document: [| Complaint [¥ ]Information [| Indictment
Total # of Counts: [ |Petty [__]Misdemeanor Felony 12

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior prpceedings befpxe a Ma ate Judge are

accurately set forth above.
| WY

Date: 1/7/2025 Signature of AUSA:

Case 1:25-cr-10003-PBS Documenti-1 Filed 01/07/25 Page 2of2
JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse
District Court Case Number (To be filled in by deputy clerk):
Name of Defendant !homas F. Clasby, Jr.
U.S.C, Citations
Index Key/Code Description of Offense Charged Count Numbers
set, 18 USC §§ 668 and 2 Theft of Federal Funds |
ser. 1B USC §§ 1343 and2. ~=Wire Fraud 2-3
gery 18 USC 88 1341 and2 ~~ Mail Fraud 4-8
Set 4 18 USC §§ 2314 and 2 Interstate Transport. of Stolen Property 0-1 2?
erg PUTT mntention neuer Forfeiture Allegations N/A
Set 6
Set 7
Set 8
Set 9
Set 10
Set 11
Set 12
Set 13
Set 14
Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

